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                 EXHIBIT B
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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


In re Monosodium Glutamate                                       Civil File No. 00-MDL-1328 (PAM)
Antitrust Litigation


                                                            ORDER




       This matter is before the Court on Plaintiffs’ Motion for Determination and Liquidation

of An Award of Damages and All Other Costs Against Defendant Tung Hai Fermentation

Industrial Corporation n/k/a Vedan Enterprises Group.

       Based upon on all the files, records, and pleadings herein, it is hereby ordered that

Plaintiffs are entitled to a judgment against Defendant Tung Hai in the total amount of

$184,700,000.00.


LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: September 10, 2004                               s/ Paul A. Magnuson
                                                        Honorable Paul A. Magnuson
                                                        United States District Judge
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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

                                            )
In re Monosodium Glutamate                  )     Case No. 00-md-01328-PAM
Antitrust Litigation                        )
__________________________________          )     CLASS ACTION
                                            )
This document relates to                    )
                                            )
Y. Hata & Co., Ltd. v. Vedan Enterprise     )
Corp. (f/k/a Tung Hai Fermentation          )
Industrial Corp.)                           )
                                            )

                                          ORDER

      This matter came before the undersigned on August 4, 2016. Kristen G. Marttila,

of Lockridge Grindal Nauen P.L.L.P. appeared on behalf of Plaintiffs. There was no

appearance by or on behalf of Defendant Vedan Enterprise Corp. (“Vedan”), formerly

known as Tung Hai Fermentation Industrial Corp.

                                FINDINGS OF FACT

      The Summons and Renewal Complaint were filed with the Court on September 9,

2014, and were served on Defendant Vedan at least by July 17, 2015.

      Defendant has failed to file and serve a response of Answer to the Renewal

Complaint. The Application for Entry of Default and Affidavit of Heidi M. Silton In

Support Of Entry Of Default were filed with the Court on May 31, 2016. The Clerk’s

Entry of Default was entered on June 3, 2016.

      Plaintiffs filed this renewal action to enforce an existing judgment against

Defendant Vedan. The existing monetary judgment is in the amount of $184,700,000.00.


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Vedan is the judgment debtor with respect to that judgment and has not paid any part of

the existing judgment. The judgment is outstanding and valid.

                              CONCLUSIONS OF LAW

      Vedan is in default, and Plaintiffs are entitled to an entry of a default judgment in

the amount of $184,700,000.00, on behalf of the Class previously certified by the Court

in its June 8, 2001 Order [Dkt. No. 146] and defined as:

             All persons who purchased MSG or nucleotides (IMP, GMP,
             or I+G, a combination of IMP and GMP), directly from any
             of the Defendants or their affiliates or co-conspirators in the
             United States during the period from January 1, 1990 through
             November 1, 1999. Excluded from the Class are the
             Defendants, their respective parents, subsidiaries and
             affiliates, and federal, state and local government entities and
             political       subdivisions,        including     possessions,
             commonwealths, and territories.

      By operation of 28 U.S.C. § 1961, Plaintiffs also are entitled to post-judgment

interest on the original judgment, in the amount of $41,019,274.94.

                                        ORDER

      Accordingly, IT IS HEREBY ORDERED THAT:

      1)     Plaintiffs’ Motion for Entry of Default Judgment (Docket No. 608) is

             GRANTED.

      2)     The above-defined Class is awarded a monetary judgment as against

             Defendant Vedan Enterprise Corp. in the sum of $225,719,274.94,

             representing:

             a)     $184,700,000.00 owed under the Court’s 2004 judgment (Docket

                    No. 486), and


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            b)    $41,019,274.94 in post-judgment interest on the 2004 judgment.

LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated: August 4, 2016                    s/Paul A. Magnuson
                                      Paul A. Magnuson
                                      United States District Court Judge




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            EXHIBIT D—P
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